            Case 1:02-cv-01008-CC Document 71 Filed 07/30/04 Page 1 of 1



                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION



 LARRY WHISTLER aka LARRY ZBYSZKO
 aka THE LIVING LEGEND,

                         Plaintiff,                            CIVIL ACTION FILE

 vs.                                                           NO. 1:02-cv-1008-CC

 WORLD WRESTLING ENTERTAINMENT,
 INC.,

                         Defendant.




                                           JUDGMENT

         This action having come before the court, Honorable Clarence Cooper, United States District

Judge, for consideration of defendant‘s motion for summary judgement, and the court having

granted said motion, it is

         Ordered and Adjudged that the plaintiff take nothing; that the defendant recover its costs

of this action, and the action be, and the same hereby, is dismissed.

         Dated at Atlanta, Georgia, this 30th day of July, 2004.




                                                                 LUTHER D. THOMAS
                                                                 CLERK OF COURT


                                                         By:     s/ Velma Shanks
                                                                 Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
  July 30, 2004
Luther D. Thomas
Clerk of Court

By: s/    Velma Shanks
         Deputy Clerk
